806 F.2d 258Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Sterling THORNTON-BEY, Plaintiff-Appellant,v.Majorie A. JENNINGS, Commissioner;  Att Renbaum, (LynneCitrenbaum Rose), Hearing Examiner;  Janet Q.Bacon, Administrator;  William J.Kunkel;  Jimmy Chestnut,Defendants-Appellees.
    No. 86-6650.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 29, 1986.Decided Nov. 24, 1986.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Joseph C. Howard, District Judge.  (C/A 84-132-JH)
      Sterling Thornton-Bey, appellant pro se.
      Stephen Howard Sachs, Richard M. Kastendieck, Office of the Attorney General, for appellees.
      D.Md.
      AFFIRMED.
      Before WIDENER, WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Bey v. Jennings, C/A 84-132-JH (D.Md., May 30, 1986).
    
    
      2
      AFFIRMED.
    
    